                   Case 23-10718-CTG                   Doc 257          Filed 07/31/23          Page 1 of 6




                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )       Chapter 11
                                                                    )
    PGX HOLDINGS, INC, et al.,
                                            1                       )       Case No. 23-10718 (CTG)
                                                                    )
                                            Debtors.                )       (Jointly Administered)
                                                                    )

                   SECOND AMENDED NOTICE OF AGENDA OF MATTERS
                SCHEDULED FOR HEARING FOR JULY 31, 2023 AT 1:00 P.M. (ET)

This hearing will be conducted in-person in Courtroom #7, 3rd Floor. All parties, including witnesses, are
expected to attend in person unless permitted to appear via Zoom. Participation at the in-person court
proceeding using Zoom is allowed only in the following circumstances: (i) a party who files a responsive
pleading intends to make only a limited argument; (ii) a party who has not submitted a pleading but is
interested in observing the hearing; or (iii) other extenuating circumstances as determined by Judge
Goldblatt. All participants over Zoom must register in advance. Please register via the Zoom link below no
later than July 28, 2023 at 4:00 p.m.:
    https://debuscourts.zoomgov.com/meeting/register/vJItcuqsqDMoHfVAuocR6PF8jwOucHErS1w
After registering your appearance by Zoom, you will receive a confirmation email containing information
about joining the hearing.

                                                     CONTESTED MATTERS:

1.           Motion of Debtors Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors
             to (A) Obtain Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting Liens
             and Superpriority Administrative Expense Claims, (III) Modifying the Automatic Stay,
             (VI) Scheduling a Final Hearing, and (IV) Granting Related Relief [Docket No. 17; Filed
             6/5/2023]

             Related Documents:

                     A.        Declaration of Chad Wallace, Chief Executive Officer of PGX Holdings,
                               Inc., in Support of Debtors' Chapter 11 Petitions and First Day Motions
                               [Docket No. 12; Filed 6/4/2023]



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are:
      PGX Holdings, Inc. (2510); Credit Repair UK, Inc. (4798); Credit.com, Inc. (1580); Creditrepair.com Holdings, Inc. (7536);
      Creditrepair.com, Inc. (7680); eFolks Holdings, Inc. (5213); eFolks, LLC (5256); John C. Heath, Attorney At Law PC (8362);
      Progrexion ASG, Inc. (5153); Progrexion Holdings, Inc. (7123); Progrexion IP, Inc. (5179); Progrexion Marketing, Inc.
      (5073); and Progrexion Teleservices, Inc. (5110). The location of the Debtors’ service address for purposes of these chapter
      11 cases is: 257 East 200 South, Suite 1200, Salt Lake City, Utah 84111.



PHIL1 10593957v.1
              Case 23-10718-CTG      Doc 257    Filed 07/31/23    Page 2 of 6




               B.   Interim Order (I) Authorizing the Debtors to (A) Obtain Postpetition
                    Financing and (B) Utilize Cash Collateral, (II) Granting Liens and
                    Superpriority Administrative Expense Claims, (III) Granting Adequate
                    Protection, (IV) Modifying the Automatic Stay, (V) Scheduling a Final
                    Hearing, and (VI) Granting Related Relief [Docket No. 70; Filed 6/6/2023]

               C.   Omnibus Notice of Second Day Hearing to Be Held on June 28, 2023 at
                    2:00 p.m. (ET) [Docket No. 74; Filed 6/7/2023]

               D.   Debtors’ Witness and Exhibit List for Hearing Scheduled for July 31, 2023
                    at 1:00 p.m. [Docket No. 242; Filed 7/27/2023]

               E.   Notice of Proposed Final Order Regarding DIP Financing and Cash
                    Collateral [Docket No. 246; Filed 7/28/2023]

               F.   Notice of Filing of Budget Relating to Proposed Final Order Regarding
                    DIP Financing and Cash Collateral [Docket No. 255; Filed 7/31/2023]

       Response Deadline: June 21, 2023 at 4:00 p.m.; extended solely for the Official
                          Committee of Unsecured Creditors to July 17, 2023 at 4:00 p.m.

       Responses Received:

               A.   Preliminary Omnibus Objection and Reservation of Rights of Official
                    Committee of Unsecured Creditors to the Debtors’ DIP Financing Motion
                    and Bidding Procedures Motion [Docket No. 153; Filed 7/17/2023]

               B.   Reply of Debtors in Support of Motion of Debtors Seeking Entry of Interim
                    and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition
                    Financing and (B) Utilize Cash Collateral, (II) Granting Liens and
                    Superpriority Administrative Expense Claims, (III) Modifying the
                    Automatic Stay, (VI) Scheduling a Final Hearing, and (IV) Granting
                    Related Relief [Docket No. 191; Filed 7/19/2023]

               C.   Blue Torch Finance LLC’s (I) Joinder to Reply of Debtors in Support of
                    DIP Motion, (II) Joinder to Reply of Debtors in Support of the Bidding
                    Procedures Motion, and (III) Reservation of Rights [Docket No. 238; Filed
                    7/26/2023]

               D.   Statement of Prospect Capital Corporation Regarding Preliminary Omnibus
                    Objection and Reservation of Rights of Official Committee of Unsecured
                    Creditors to the Debtors' DIP Financing Motion and Bidding Procedures
                    Motion [Docket No. 239; Filed 7/26/2023]

               E.   Supplement to Preliminary Omnibus Objection and Reservation of
                    Rights of Official Committee of Unsecured Creditors to the Debtors’


                                            2
PHIL1 10593957v.1
              Case 23-10718-CTG        Doc 257     Filed 07/31/23     Page 3 of 6




                      DIP Financing and Bidding Procedures Motion [Docket No. 253; File
                      7/30/2023]

       Status:        This matter is going forward.

2.     Motion of Debtors for Entry of Orders (I)(A) Approving Bidding Procedures for
       Substantially All of the Debtors’ Assets, (B) Authorizing the Debtors to Enter into One or
       More Stalking Horse Agreements and to Provide Bidding Protections Thereunder, (C)
       Scheduling an Auction and Approving the Form and Manner of Notice Thereof, (D)
       Approving Assumption and Assignment Procedures, and (E) Scheduling a Sale Hearing
       and Approving the Form and Manner of Notice Thereof; (II)(A) Approving the Sale of the
       Debtors’ Assets Free and Clear of Liens, Claims, Interests and Encumbrances and (B)
       Approving the Assumption and Assignment of Executory Contracts and Unexpired Lease;
       and (III) Granting Related Relief [Docket No. 66; Filed 6/6/2023]

       Related Documents:

                 A.   Declaration of Chad Wallace, Chief Executive Officer of PGX Holdings,
                      Inc., in Support of Debtors' Chapter 11 Petitions and First Day Motions
                      [Docket No. 12; Filed 6/4/2023]

                 B.   Declaration of Neil A. Augustine In Support of the Debtors’ Motion for
                      Entry of Orders (I)(A) Approving Bidding Procedures for Substantially All
                      of the Debtors’ Assets, (B) Authorizing the Debtors to Enter into One or
                      More Stalking Horse Agreements and to Provide Bidding Protections
                      Thereunder, (C) Scheduling an Auction and Approving the Form and
                      Manner of Notice Thereof, (D) Approving Assumption and Assignment
                      Procedures, and (E) Scheduling a Sale Hearing and Approving the Form
                      and Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’
                      Assets Free and Clear of Liens, Claims, Interests and Encumbrances and
                      (B) Approving the Assumption and Assignment of Executory Contracts and
                      Unexpired Lease; and (III) Granting Related Relief [Docket No. 67; Filed
                      6/6/2023]

                 C.   Declaration of Elise S. Frejka, CIPP/US, In Support of Motion of Debtors
                      for Entry of Orders (I)(A) Approving Bidding Procedures for Substantially
                      All of the Debtors’ Assets, (B) Authorizing the Debtors to Enter into One
                      or More Stalking Horse Agreements and to Provide Bidding Protections
                      Thereunder, (C) Scheduling an Auction and Approving the Form and
                      Manner of Notice Thereof, (D) Approving Assumption and Assignment
                      Procedures, and (E) Scheduling a Sale Hearing and Approving the Form
                      and Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’
                      Assets Free and Clear of Liens, Claims, Interests and Encumbrances and
                      (B) Approving the Assumption and Assignment of Executory Contracts and
                      Unexpired Lease; and (III) Granting Related Relief [Docket No. 68; Filed
                      6/6/2023]


                                               3
PHIL1 10593957v.1
              Case 23-10718-CTG      Doc 257     Filed 07/31/23     Page 4 of 6




               D.   Notice of Revised Proposed Order Regarding Bidding Procedures Motion
                    [Docket No. 192; Filed 7/19/2023]

               E.   Debtors’ Witness and Exhibit List for Hearing Scheduled for July 31, 2023
                    at 1:00 p.m. [Docket No. 242; Filed 7/27/2023]

               F.   Notice of Intent of the Official Committee of Unsecured Creditors to Offer
                    Witness Testimony and Exhibits at July 31, 2023 Hearing [Docket No. 244;
                    Filed 7/27/2023]

               G.   Notice of Revised Stalking Horse Asset Purchase Agreements [Docket
                    No. 250; Filed 7/28/2023]

       Response Deadline: June 21, 2023 at 4:00 p.m.; extended solely for the Consumer
                          Financial Protection Bureau to June 27, 2023 at 5:00 p.m. and for
                          the Official Committee of Unsecured Creditors to July 17, 2023 at
                          4:00 p.m.

       Responses Received:

               A.   United States Trustee’s Objection to Motion of Debtors for Entry of Orders
                    (I)(A) Approving Bidding Procedures for Substantially All of the Debtors’
                    Assets, (B) Authorizing the Debtors to Enter into One or More Stalking
                    Horse Agreements and to Provide Bidding Protections Thereunder, (C)
                    Scheduling an Auction and Approving the Form and Manner of Notice
                    Thereof, (D) Approving Assumption and Assignment Procedures, and (E)
                    Scheduling a Sale Hearing and Approving the Form and Manner of Notice
                    Thereof; (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear
                    of Liens, Claims, Interests and Encumbrances and (B) Approving the
                    Assumption and Assignment of Executory Contracts and Unexpired Lease;
                    and (III) Granting Related Relief [Docket No. 101; Filed 6/21/2023]

               B.   Reply of Debtors in Support of Motion of Debtors for Entry of Orders (I)(A)
                    Approving Bidding Procedures for Substantially All of the Debtors’ Assets,
                    (B) Authorizing the Debtors to Enter into One or More Stalking Horse
                    Agreements and to Provide Bidding Protections Thereunder, (C)
                    Scheduling an Auction and Approving the Form and Manner of Notice
                    Thereof, (D) Approving Assumption and Assignment Procedures, and (E)
                    Scheduling a Sale Hearing and Approving the Form and Manner of Notice
                    Thereof; (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear
                    of Liens, Claims, Interests and Encumbrances and (B) Approving the
                    Assumption and Assignment of Executory Contracts and Unexpired Lease;
                    and (III) Granting Related Relief [Docket No. 190; Filed 7/19/2023]

               C.   Blue Torch Finance LLC’s (I) Joinder to Reply of Debtors in Support of
                    DIP Motion, (II) Joinder to Reply of Debtors in Support of the Bidding


                                             4
PHIL1 10593957v.1
              Case 23-10718-CTG        Doc 257     Filed 07/31/23     Page 5 of 6




                      Procedures Motion, and (III) Reservation of Rights [Docket No. 238; Filed
                      7/26/2023]

                 D.   Supplement to Preliminary Omnibus Objection and Reservation of
                      Rights of Official Committee of Unsecured Creditors to the Debtors’
                      DIP Financing and Bidding Procedures Motion [Docket No. 253; File
                      7/30/2023]

       Status:        The Debtors have resolved the objection of the Office of the United States
                      Trustee. This matter is going forward with respect to the objection of the
                      Official Committee of Unsecured Creditors.

3.     Debtors’ Application for Entry of Order (I) Authorizing the Employment and Retention of
       Greenhill & Co., LLC as Financial Advisor and Investment Banker to the Debtors and
       Debtors in Possession, Effective as of Petition Date, and (II) Granting Related Relief
       [Docket No. 124; Filed 6/30/203]

       Related Documents:

                 A.   Reply in Support of Debtors’ Application for Entry of Order (I) Authorizing
                      the Employment and Retention of Greenhill & Co., LLC as Financial
                      Advisor and Investment Banker to the Debtors and Debtors in Possession,
                      Effective as of Petition Date, and (II) Granting Related Relief [Docket No.
                      206; Filed 7/19/2023]

                 B.   Debtors’ Witness and Exhibit List for Hearing Scheduled for July 31, 2023
                      at 1:00 p.m. [Docket No. 242; Filed 7/27/2023]

                 C.   Supplemental Declaration of Neil A. Augustine in Support of Debtors’
                      Application for Entry of Order (I) Authorizing the Employment and
                      Retention of Greenhill & Co., LLC as Financial Advisor and Investment
                      Banker to the Debtors and Debtors in Possession, Effective as of Petition
                      Date, and (II) Granting Related Relief [Docket No. 247; Filed 7/28/2023]

       Response Deadline: July 14, 2023 at 4:00 p.m. extended solely for the Office of the US
                          Trustee to July 18, 2023 at 4:00 p.m. and for the Official Committee
                          of Unsecured Creditors to July 17, 2023 at 4:00 p.m. Responses
                          Received:

                 A.   Preliminary Objection and Reservation of Rights of Official Committee of
                      Unsecured Creditors to Retention Application for Greenhill & Co., LLC
                      [Docket No. 155; Filed 7/17/2023]

       Status:        This matter is going forward.




                                               5
PHIL1 10593957v.1
              Case 23-10718-CTG     Doc 257      Filed 07/31/23   Page 6 of 6




Dated: July 31, 2023
Wilmington, Delaware

/s/ Michael W. Yurkewicz
KLEHR HARRISON HARVEY                             KIRKLAND & ELLIS LLP
BRANZBURG LLP                                     KIRKLAND & ELLIS INTERNATIONAL LLP
Domenic E. Pacitti (DE Bar No. 3989)              Joshua A. Sussberg, P.C. (admitted pro hac vice)
Michael W. Yurkewicz (DE Bar No. 4165)            601 Lexington Ave
919 North Market Street, Suite 1000               New York, New York 10022
Wilmington, Delaware 19801                        Telephone: (212) 446-4800
Telephone: (302) 426-1189                         Facsimile: (212) 446-4900
Facsimile:    (302) 426-9193                      Email: joshua.sussberg@kirkland.com
Email: dpacitti@klehr.com
         myurkewicz@klehr.com
                                                  - and -
                                                  Spencer Winters (admitted pro hac vice)
-and-
                                                  Whitney C. Fogelberg (admitted pro hac vice)
Morton R. Branzburg (pro hac vice pending)        Alison J. Wirtz (admitted pro hac vice)
1835 Market Street, Suite 1400                    300 North LaSalle
Philadelphia, Pennsylvania 19103                  Chicago, Illinois 60654
Telephone: (215) 569-3007                         Telephone: (312) 862-2000
Facsimile:    (215) 568-6603                      Facsimile: (312) 862-2200
Email: mbranzburg@klehr.com                       Email: spencer.winters@kirkland.com
                                                          whitney.fogelberg@kirkland.com
                                                         alison.wirtz@kirkland.com

Co-Counsel to the Debtors and Debtors in           Co-Counsel to the Debtors and Debtors in
Possession                                         Possession




                                             6
PHIL1 10593957v.1
